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                    EXHIBIT 4
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Major Pravada Documents

   1.   Pravada Specific Zoning Plan, including Development Agreement and all accompanying
       documents.
   2. Pravada CFD Application (including schematic designs, calculations, exhibits, etc.)
   3. Draft Aquifer Protection Permit Application.
   4. Pravada Master Off‐Site Drainage Study.
   5. Pravada Conceptual Drainage Study for Area 3.
   6. Pravada Technical Drainage Study for Area 3.
   7. Area 3 draft Preliminary Plat applications, exhibits, drawings, etc.
   8. Area 3 grading plans, earthwork comparisons, design analysis concepts, drawings etc.
   9. Area 3 draft Final Improvement Plans.
   10. WAPA applications, designs and exhibits relating to overhead power lines.
   11. Pravada Conceptual Drainage Study for Area 5.
   12. Area 5 draft Preliminary Plat applications, exhibits, drawings, etc.
   13. Area 5 grading plans, earthwork comparisons, design analysis concepts, drawings etc.
   14. Lane geometries, alignments, underground storm drain and utility designs, calculations and
       survey data relating to Bacobi Road.
   15. Lane geometries, alignments, underground storm drain and utility designs, calculations and
       survey data relating to Shinarump Road and channel.
   16. Technical Drainage Study relating to Shinarump Road.
   17. All alignments, design concepts, earthwork calculations, cost estimates and drawings relating to
       the proposed East Diversion Dam.
   18. Technical Drainage Study relating to East Diversion Dam.
   19. Topographic Survey with 1988 datum.
   20. Boundary Survey by SHG.
